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              UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                  Case No. 3:23cr35-TKW-3

MARK ADAM SALLI
                                      /

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, MARK ADAM SALLI, to Count One, Counts Five through Eight,

Count Eleven, and Counts Thirteen through Fifteen of the Indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

      DONE and ORDERED this 25th day of September 2023.

                               T. Kent Wetherell, II
                               T. KENT WETHERELL, II
                               UNITED STATES DISTRICT JUDGE
